


  Per Curiam.
 

  Karen Lynn Ditzler was admitted to practice by this Court in 2002 and lists a business address in Washington, DC with the Office of Court Administration. Ditzler has applied to this Court, by affidavit sworn to March 22, 2017, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application, contending that Ditzler is ineligible for nondisciplinary resignation because she has failed to fulfill her attorney registration requirements for the biennial period beginning in 2016 (see Judiciary Law § 468-a; Matter of Lee, 148 AD3d 1350 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]; Rules of Chief Admin of Cts [22 NYCRR] § 118.1).
 

  However, Office of Court Administration records establish that Ditzler has since become current in her New York attorney registration requirements and cured any preexisting registration delinquency. Accordingly, with AGC voicing no other substantive objection to her application, and having determined that Ditzler is now eligible to resign for nondisciplinary reasons (compare Matter of Tierney, 148 AD3d 1457, 1458 [2017]; Matter of Bomba, 146 AD3d at 1227), we grant the application and accept her resignation.
 

  Peters, P.J., McCarthy, Clark, Rumsey and Pritzker, JJ., concur.
 

  Ordered that Karen Lynn Ditzler’s application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further ordered that Karen Lynn Ditzler’s name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further ordered that Karen Lynn Ditzler is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Ditzler is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further ordered that Karen Lynn Ditzler shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.
 
